      Case 1:21-cr-00642-JDB Document 41 Filed 08/22/22 Page 1 of 3




                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                 :
                                         :       CRIMINAL NO. 21-cr-642 (JDB)
           v.                            :
                                         :
DARRELL NEELY,                           :
                                         :
                  Defendant.             :


                      GOVERNMENT’S RESPONSE TO
                  DEFENDANT NEELY’S MOTIONS IN LIMINE

    The government files these responses to defendant’s motions in limine (ECF 33):

    1) No objection. The government does not plan to offer any news reports of police

       personnel who died during or after January 6, 2021.

    2) No objection. The government does not plan to introduce evidence regarding former

       President Trump’s various election related lawsuits, other than any references made

       by the former President himself, during his January 6th rally at the Ellipse.

    3) No objection. The government is not planning to introduce evidence concerning the

       defendant’s knowledge of, or affiliation with, any militia organization. If the

       government discovers any new evidence to the contrary, it will address the issue with

       the Court prior to introducing any such evidence to the jury.

    4) No objection. By definition, the government is not planning to offer any “irrelevant”

       evidence. Accordingly, it does not oppose this motion.

    5) Opposed. A defendant’s criminal history is relevant for many purposes, including

       impeachment should he testify.

    6) No objection. The government does not intend to offer the defendant’s “mug shot.”
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  Case 1:21-cr-00642-JDB Document 41 Filed 08/22/22 Page 2 of 3




7) Opposed. The defendant does offer any legal or factual basis for his motion urging

   the Court not to admit “tags” of the defendant by others on Facebook or other social

   media. Should the defendant offer any legal or factual basis for this motion in a reply

   brief, the government will respectfully ask for permission to submit a sur-reply in

   response.

8) Opposed. The defendant’s ex-wife is a potential witness in this case. Therefore, an

   order prohibiting the introduction of “[a]ny information about relationship with his

   ex-wife” would be overbroad. Objections to specific questions would be more

   properly reserved for trial where the context would be more apparent.

9) Opposed. The United States intends offer electronic evidence that shows the

   defendant inside the U.S. Capitol building holding what appears to be a marijuana

   cigarette. The government will not seek to establish that the cigarette contains

   marijuana. However, the evidence is relevant because the government will seek to

   establish that the defendant was disorderly, disruptive, parading, and demonstrating

   inside the Capitol building during the January 6, 2021 riot. To establish the elements

   of certain charges in the Information, the government must show that the defendant

   engaged in “disorderly or disruptive conduct” and that the defendant paraded,

   demonstrated, or picketed in any of the U.S. Capitol buildings or grounds. See 18

   U.S.C. § 1752(a)(20; 40 U.S.C. § 51404(e)(2)(D), (G). Therefore, this evidence

   should not be excluded.

10) Opposed. The government does not intend to offer the defendant’s home street

   address into evidence. However, the government should not be precluded from

   establishing the defendant’s city and state of residence at the time of the riot.


                                         2
          Case 1:21-cr-00642-JDB Document 41 Filed 08/22/22 Page 3 of 3




                                        CONCLUSION

       The government respectfully requests the Court to rule on the defendant’s motions in

limine consistent with the government’s positions set forth above.

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             D.C. Bar No. 481052

                                             By:

                                             /s/ Andrew J. Tessman
                                             ANDREW J. TESSMAN
                                             Assistant United States Attorney
                                             District of Columbia – Detailee
                                             West Virginia Bar No. 13734
                                             300 Virginia Street
                                             Charleston, WV 25301
                                             (304) 345-2200
                                             Andrew.Tessman@usdoj.gov


                                             /s/ Joseph McFarlane
                                             PA Bar No. 311698
                                             United States Department of Justice
                                             1400 New York Ave NW
                                             Washington, D.C. 20005
                                             Desk: (202) 514-6220
                                             Mobile: (202) 368-6049
                                             joseph.mcfarlane@usdoj.gov




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